Case 1:17-cr-00248-VSB Document 207

  

USDC SDNY

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

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UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER
-V.- OF FORFEITURE/
: MONEY JUDGMENT
RICHARD BD. HART,
S117 Cr. 248 (VSB)
Defendant.
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WHEREAS, on or about January 10, 2019, RICHARD D. HART (the “defendant”)
was charged in a one-count Information (the “Information”) with conspiracy to commit an offense
against the United States, namely, mail fraud and wire fraud, in violation of Title 18, United States
Code, Section 371 (Count One);

WHEREAS, the Information included a forfeiture allegation as to Count One,
seeking forfeiture to the United States, pursuant to Title 18, United States Code, Section
98 l(a) )(C) and Title 28, United States Code, Section 2461(c), of any and all property, real or
personal, that constitutes or is derived, directly or indirectly, from proceeds traceable to the
commission of the offense alleged in Count One of the Information, including but not limited to a
sum of money in United States currency representing the amount of proceeds traceable to the
commission of the offense alleged in Count One of the Information;

WHEREAS, on or about January 10, 2019, the defendant pled guilty to Count One
of the Information and admitted to the forfeiture allegation with respect to Count One of the

Information pursuant to a plea agreement with the Government, wherein the defendant agreed to

 
Case 1:17-cr-00248-VSB Document 207 Filed 08/09/19 Page 2 of 4

forfeit a sum of money equal to $123,107 in United States currency, representing proceeds
traceable to the commission of the offense charged in Count One of the Information;

WHEREAS, the defendant consents to the entry of a money judgment in the amount
of $123,107 in United States currency, representing the amount of proceeds traceable to the offense
charged in Count One of the Information that the defendant personally obtained: and

WHEREAS, the defendant admits that, as a result of acts and/or omissions of the
defendant, the proceeds traceable to the offense charged in Count One of the Information that the
defendant personally obtained cannot be located upon the exercise of due diligence.

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Geoffrey 8. Berman, United States Attorney, Assistant United States
Attorney David Raymond Lewis, and the defendant, and his counsel, Eric Mark Sears, Esq., that:

1. Asatresult of the offense charged in Count One of the Information, to which
the defendant pled guilty, a money judgment in the amount of $123,107 in United States currency
(the “Money Judgment”), representing the amount of proceeds traceable to the offense charged in
Count One of the Information that the defendant personally obtained, shall be entered against the
defendant.

2. Pursuant to Rule 32,2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the defendant, RICHARD
D. HART, and shall be deemed part of the sentence of the defendant, and shall be included in the

judgment of conviction therewith.
Case 1:17-cr-00248-VSB Document 207 Filed 08/09/19 Page 3 of 4

3. All payments on the outstanding Money Judgment shall be made by postal
money order, bank or certified check, made payable in this instance to the “United States Marshals
Service,” and delivered by mail to the United States Attorney’s Office, Southern District of New
York, Attn: Money Laundering & Transnational Criminal Enterprises Unit, One St. Andrew’s
Plaza, New York, New York 10007, and shall indicate the defendant’s name and case number.

4, The United States Marshals Service is authorized to deposit the payments
on the Money Judgment in the Assets Forfeiture Fund, and the United States shal! have clear title
to such forfeited property.

5. Pursuant to 21 U.S.C. § 853{p), the United States is authorized to seek
forfeiture of substitute assets of the defendant up to the uncollected amount of the Money
Judgment.

6. Pursuant to Rule 32,2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate,
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents, and the issuance of subpoenas.

7. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure.

8. The Clerk of the Court shall forward three certified copies of this Consent
Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander
J, Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.

 

 
Case 1:17-cr-00248-VSB Document 207 Filed 08/09/19 Page 4 of 4

9, The signature page of this Consent Preliminary Order of Forfeiture/Money
Judgment may be executed in one or more counterparts, each of which will be deemed an original

but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

GEOFFREY 8S. BERMAN
United States Attorney for the
Souther District of New York

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DAVID gf Li DATE
Assistant United States Attorney

One St. Andrew’s Plaza

New York, NY 10007

(212) 637-2397

 

 

 

 

DATE
ERI@ MARK SEARS, ESQ. DATE

1154Broladway, Suite 1704
New York, New York 10006
Attorney for Defendant

SO ORDERED:

  

HONORABLE VERNON S. BRODERICK DATE
UNITED STATES DISTRICT JUDGE
